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                                     #:1162



1                       UNITED STATES DISTRICT COURT
2                      CENTRAL DISTRICT OF CALIFORNIA
3       -------------------------       x
4       NEMAN BROTHERS & ASSOC.,        :
5       INC., a California              :
6       Corporation,                    :
7                   Plaintiff,          :   Case No.
8       v.                              :   2:20-cv-11181-CAS-JPR
9       INTERFOCUS, INC., d/b/a         :
10      www.patpat.com, a               :
11      Delaware Corporation; CAN       :
12      WANG, an individual, and        :
13      DOES 1-10, inclusive,           :
14                  Defendants.         :
15      -------------------------       X
16
17                    Remote Zoom Video Deposition of
18                                YOEL NEMAN
19                       Wednesday, October 20, 2021
20                      10:07 a.m. to 3:52 p.m. PST
21
22           Job No.: 405745
23           Pages: 1 - 136
24           Reported by: Melody Stephenson, BBA,
25           FCRR, CRR, CRC, RPR, RSA, MO CCR 406, IA CSR 974
                                                                                                           Transcript of Yoel Neman
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                                                                               1        Q   Did you have a management position?                 10:14:12
                                                                               2        A   No position, just a shareholder and                 10:14:19
                                                                               3    administrator.                                              10:14:19
                                                                               4        Q   Who was the other -- excuse me.         I           10:14:26
                                                                               5    apologize for interrupting.       Who were the other        10:14:27
                                                                               6    shareholders of Neman Brothers when it was founded          10:14:29
                                                                               7    in 1981?                                                    10:14:32
                                                                               8        A   Leon and John Neman.                                10:14:34
                                                                               9        Q   Anyone else?                                        10:14:37
                                                                               10       A   No.                                                 10:14:41
                                                                               11       Q   Were Leon and John Neman your brothers?             10:14:43
                                                                               12       A   That's right.                                       10:14:48
                                                                               13       Q   Did your father have any position in the            10:14:49
                                                                               14   company?                                                    10:14:52
                                                                               15       A   No.                                                 10:14:53
                                                                               16       Q   Do you know a Morae Neman?                          10:14:54
                                                                               17       A   I know.    He's my cousin.                          10:15:03
                                                                               18       Q   Has he ever had an ownership interest in            10:15:08
                                                                               19   Neman Brothers?                                             10:15:12
                                                                               20       A   No.                                                 10:15:13
                                                                               21       Q   Has he ever worked at Neman Brothers?               10:15:14
                                                                               22       A   No.                                                 10:15:18
                                                                               23       Q   Do you also know a Hertzel Neman?                   10:15:18
                                                                               24       A   Yes.                                                10:15:24
                                                                               25       Q   How do you know him?                                10:15:24


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                                                                               1        A   He's my cousin.                                     10:15:27
                                                                               2        Q   Has he ever had an ownership interest in            10:15:28
                                                                               3    Neman Brothers?                                             10:15:33
                                                                               4        A   No.                                                 10:15:34
                                                                               5        Q   Has he ever worked at Neman Brothers?               10:15:35
                                                                               6        A   No.                                                 10:15:38
                                                                               7        Q   From the time Neman Brothers -- well,               10:15:39
                                                                               8    strike that.                                                10:15:47
                                                                               9            At some point after you formed the                  10:15:48
                                                                               10   company, did you become the president of Neman              10:15:54
                                                                               11   Brothers?                                                   10:16:00
                                                                               12       A   No.     I -- I was never a president of the         10:16:00
                                                                               13   company.                                                    10:16:03
                                                                               14       Q   Do you presently have a position at Neman           10:16:04
                                                                               15   Brothers?                                                   10:16:10
                                                                               16       A   No, I don't.                                        10:16:10
                                                                               17       Q   Okay.     So is that -- just so I'm clear,          10:16:11
                                                                               18   then, from the time Neman Brothers was founded to           10:16:13
                                                                               19   the present, you have never had a position as an            10:16:18
                                                                               20   officer of Neman Brothers, is that correct?                 10:16:21
                                                                               21       A   I was administrator, one of the                     10:16:23
                                                                               22   administrators in the company.                              10:16:33
                                                                               23       Q   Okay.     When did you start working as an          10:16:34
                                                                               24   administrator at the company?                               10:16:39
                                                                               25       A   I always was one of the administrators.             10:16:41


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                                                                               1        Q   Okay.     What were your duties as                           10:16:43
                                                                               2    administrator at Neman Brothers?                                     10:16:46
                                                                               3        A   I -- I was in charge of purchasing.             I was        10:16:50
                                                                               4    in charge of communication, went overseas.              I was        10:16:56
                                                                               5    in charge of the design room.           I was in charge of           10:17:04
                                                                               6    some sales, just --                                                  10:17:11
                                                                               7        Q   And -- oh, I'm sorry.         Are -- did you                 10:17:19
                                                                               8    finish your answer, sir?         I didn't mean to                    10:17:21
                                                                               9    interrupt.      Okay.     So you had those duties at                 10:17:23
                                                                               10   Neman Brothers as an administrator from 1981 to                      10:17:30
                                                                               11   the present?                                                         10:17:34
                                                                               12       A   Yes.                                                         10:17:35
                                                                               13       Q   Okay.     Sir, do you recall signing a                       10:17:36
                                                                               14   declaration that was filed in this action?                           10:17:40
                                                                               15       A   Yes.                                                         10:17:45
                                                                               16       Q   Okay.     I'd like you to take a look at                     10:17:47
                                                                               17   that, please.                                                        10:17:51
                                                                               18           MR. LEE:        If the court reporter would                  10:17:52
                                                                               19   please pull up document number one.                                  10:17:54
                                                                               20           TECH:     Please stand by.       And I can give              10:17:57
                                                                               21   you, Mr. Lee, remote control.                                        10:18:09
                                                                               22           MR. LEE:        Well, I'll tell you what,                    10:18:13
                                                                               23   right -- for right now -- well, how -- how do I                      10:18:16
                                                                               24   get remote control?         I don't want to hold up the              10:18:18
                                                                               25   proceedings.                                                         10:18:22


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                                                                               1              MR. LEE:     Before I do that, I'd like                 10:19:18
                                                                               2    Mr. Neman to say whether the signature that shows                 10:19:20
                                                                               3    on the screen is his signature.                                   10:19:23
                                                                               4              THE WITNESS:        Yes.                                10:19:28
                                                                               5              MR. LEE:     All right.     Thank you.   Then by        10:19:29
                                                                               6    all means, let's go back and look at the whole                    10:19:32
                                                                               7    document.                                                         10:19:35
                                                                               8              TECH:   I -- I can put the -- I can put the             10:19:36
                                                                               9    exhibit in the chat, and they can download it and                 10:19:38
                                                                               10   have a copy.                                                      10:19:40
                                                                               11             MR. LEE:     Fine.     Please look it over and          10:19:42
                                                                               12   then let me know when you're finished.                            10:19:44
                                                                               13             TECH:   I'm going to -- do you want me to               10:19:55
                                                                               14   put it in the chat?                                               10:19:56
                                                                               15             MR. JEONG:      Yes.                                    10:19:57
                                                                               16             MR. LEE:     Yes.                                       10:19:57
                                                                               17             TECH:   Okay.       Let me stop the share for a         10:20:00
                                                                               18   minute.                                                           10:20:03
                                                                               19             MR. JEONG:      Mr. Neman, do -- do you                 10:20:13
                                                                               20   understand, Madam Reporter is going to upload it                  10:20:15
                                                                               21   in the chat room?         Can you go to the chat room and         10:20:17
                                                                               22   download it?      One of the buttons at the bottom is             10:20:19
                                                                               23   chat.     And you click it, and then you'll open the              10:20:27
                                                                               24   window and wait for the file she uploads.                         10:20:29
                                                                               25             TECH:   Okay.       I just sent it.   Do you see        10:20:36


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                                                                               1              MR. LEE:     I understand.
                                                                               2              THE WITNESS:     Where's the three dots?      I
                                                                               3    don't know.
                                                                               4              VIDEOGRAPHER:     Do you need to go off the
                                                                               5    record?
                                                                               6              COURT REPORTER:     Yes, Christy, please.               10:22:07
                                                                               7              VIDEOGRAPHER:     Going off the record.      The        10:22:07
                                                                               8    time is 10:21 a.m.                                                10:22:09
                                                                               9              (Off the record.)                                       10:22:15
                                                                               10             VIDEOGRAPHER:     We are back on the record.            10:24:33
                                                                               11   The time is 10:24 a.m. Pacific Time.                              10:24:48
                                                                               12             MR. LEE:     Yes, and the -- the document has           10:24:54
                                                                               13   just been made available to Mr. Neman and his                     10:24:56
                                                                               14   counsel.     I would like that document marked as                 10:24:59
                                                                               15   Deposition Exhibit 1, please.                                     10:25:02
                                                                               16             COURT REPORTER:     Merinda, have you got               10:26:55
                                                                               17   Exhibit 1 marked so we can proceed?                               10:26:58
                                                                               18             TECH:   Oh, I'm sorry.       Yes, I do.                 10:27:01
                                                                               19             COURT REPORTER:     Thank you.                          10:27:27
                                                                               20             THE WITNESS:     Okay.   So yeah.                       10:27:27
                                                                               21       Q     (By Mr. Lee)     Do you recognize that                  10:27:30
                                                                               22   document, sir?                                                    10:27:31
                                                                               23       A     Yes, I do.                                              10:27:32
                                                                               24       Q     Is that the declaration that you signed                 10:27:33
                                                                               25   that was filed in this case?                                      10:27:36


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                                                                               1        A   That's right.                                               10:27:38
                                                                               2        Q   And you signed it under penalty of                          10:27:39
                                                                               3    perjury, did you not?                                               10:27:44
                                                                               4        A   That's right.                                               10:27:45
                                                                               5        Q   If you look at paragraph 2 of your                          10:27:48
                                                                               6    declaration --                                                      10:27:51
                                                                               7        A   I'm sorry.                                                  10:27:52
                                                                               8        Q   It's on the page after the face page.             Do        10:27:53
                                                                               9    you see that, sir?                                                  10:27:56
                                                                               10       A   Which are you -- come again, please.          I             10:27:57
                                                                               11   didn't hear you.                                                    10:28:00
                                                                               12       Q   Certainly.    If you go to the very first                   10:28:00
                                                                               13   page, you'll see there's a caption and it says                      10:28:03
                                                                               14   declaration --                                                      10:28:09
                                                                               15       A   If I go --                                                  10:28:10
                                                                               16       Q   -- of Yoel Neman.     Do you see that?       Back           10:28:11
                                                                               17   to the first page of the document.                                  10:28:15
                                                                               18       A   First page?                                                 10:28:17
                                                                               19       Q   First page, yes.                                            10:28:18
                                                                               20       A   Okay.                                                       10:28:24
                                                                               21       Q   All right.    Do you see that?                              10:28:24
                                                                               22       A   What does it say?                                           10:28:26
                                                                               23       Q   It says declaration of Yoel Neman?                          10:28:29
                                                                               24       A   Right.    Right.                                            10:28:33
                                                                               25       Q   Okay.    If you'll go, then, to the second                  10:28:34


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                                                                               1    page of the document?                                             10:28:36
                                                                               2         A   Mm-hmm.                                                  10:28:40
                                                                               3         Q   At line -- between line 7 and 8, paragraph               10:28:41
                                                                               4    2 is designated.       Do you see that?                           10:28:47
                                                                               5         A   Yeah.     Seven.     Okay.                               10:28:49
                                                                               6         Q   No -- yeah.        It says I am the president of         10:28:54
                                                                               7    Plaintiff Neman Brothers & Associates, Inc.,                      10:28:57
                                                                               8    Plaintiff or Neman Brothers, period.            Do you see        10:29:00
                                                                               9    that, sir?                                                        10:29:03
                                                                               10        A   Number -- oh, number 7 is unauthorized use               10:29:04
                                                                               11   of --                                                             10:29:07
                                                                               12        Q   It's paragraph 2 and between lines 7 and                 10:29:07
                                                                               13   8?                                                                10:29:11
                                                                               14        A   (Inaudible.)                                             10:29:13
                                                                               15            COURT REPORTER:        I'm sorry, sir.    I'm not        10:29:13
                                                                               16   able to distinguish what you're saying, if you                    10:29:13
                                                                               17   could just read silently, please.                                 10:29:13
                                                                               18            THE WITNESS:        Okay.                                10:29:29
                                                                               19        Q   (By Mr. Lee)        Do you see that, sir?                10:29:29
                                                                               20        A   Yes, sir.                                                10:29:30
                                                                               21        Q   Okay.     There it says, quote, I am the                 10:29:32
                                                                               22   president of Plaintiff Neman Brothers &                           10:29:35
                                                                               23   Associates, Inc., unquote.            Do you see that?            10:29:37
                                                                               24        A   Yes.                                                     10:29:40
                                                                               25        Q   Is that statement accurate?                              10:29:40


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                                                                               1        A   If it says that, yes, it's accurate.                    10:29:43
                                                                               2        Q   Okay.     So you are the president of Neman             10:29:47
                                                                               3    Brothers & Associates?                                          10:29:52
                                                                               4        A   Yes, I was.                                             10:29:52
                                                                               5        Q   And before -- I'm sorry.                                10:29:57
                                                                               6        A   I was.                                                  10:29:57
                                                                               7        Q   Okay.     When were you the president of                10:29:57
                                                                               8    Plaintiff Neman Brothers & Associates, Inc.?                    10:30:01
                                                                               9        A   I think up to maybe 15 years ago, 20 years              10:30:03
                                                                               10   ago I was the president, possibly.         I can't              10:30:13
                                                                               11   remember.                                                       10:30:20
                                                                               12       Q   At some point, 15 years ago or so, did --               10:30:20
                                                                               13   were you no longer the president of Neman                       10:30:24
                                                                               14   Brothers & Associates, Inc.?                                    10:30:27
                                                                               15       A   No.     We were no longer -- none of -- none            10:30:29
                                                                               16   of us were president.                                           10:30:33
                                                                               17       Q   Did Neman Brothers & Associates, Inc.,                  10:30:35
                                                                               18   have a president af- --                                         10:30:37
                                                                               19       A   Yes.                                                    10:30:40
                                                                               20       Q   -- after 15 years ago or so?        Yeah.    Who        10:30:40
                                                                               21   was that president?                                             10:30:44
                                                                               22       A   Mr. Jacob Nourani.                                      10:30:45
                                                                               23       Q   How do you spell his last name, sir?                    10:30:49
                                                                               24       A   N-o-u-r- -- N-o -- Nou -- N-o-r --                      10:30:52
                                                                               25   N-o-u-r-n-i.                                                    10:30:59


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                                                                                1        Q   All right.    About how many fabric designs           10:38:48
                                                                                2    does Neman Brothers create per year?                          10:38:51
                                                                                3        A   Hundreds.    Hundreds.                                10:38:55
                                                                                4        Q   So would it be fair to say, then, that                10:39:14
                                                                                5    more of the designs that Neman Brothers sells, it             10:39:20
                                                                                6    creates than it purchases from other studios?                 10:39:27
                                                                                7        A   About -- about the same, about -- maybe a             10:39:36
                                                                                8    little more, yes, we -- we create.         The designs        10:39:42
                                                                                9    have many elements in them that we buy, and we                10:39:46
                                                                                10   take those elements and mix them with other                   10:39:55
                                                                                11   elements and create different designs.                        10:39:57
                                                                                12       Q   I see.    Okay.   Now, so about how often             10:40:01
                                                                                13   does Neman Brothers register the designs it                   10:40:20
                                                                                14   purchases from others for copyright?                          10:40:28
                                                                                15       A   Every month we have a group going out.                10:40:30
                                                                                16       Q   And so if I understand you correctly, then            10:40:35
                                                                                17   Neman Brothers files, like, what's called a group             10:40:44
                                                                                18   copyright registration about every month?                     10:40:46
                                                                                19       A   Yes.                                                  10:40:49
                                                                                20       Q   All right.    Does a specific registration            10:40:50
                                                                                21   typically include both fabric designs that Neman              10:41:00
                                                                                22   Brothers purchased and fabric designs that Neman              10:41:05
                                                                                23   Brothers created together in a group?                         10:41:07
                                                                                24       A   Yes.                                                  10:41:09
                                                                                25       Q   Okay.    About how long after a fabric                10:41:09


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                                                                                1    document, sir?                                                      11:58:38
                                                                                2        A     Yes.                                                      11:58:39
                                                                                3        Q     Do you recognize this as part of the web                  11:58:39
                                                                                4    page you just viewed from the Neman Brothers'                       11:58:45
                                                                                5    website?                                                            11:58:47
                                                                                6        A     Yes.                                                      11:58:48
                                                                                7        Q     And this is a larger or a blowup of the la                11:58:49
                                                                                8    vie en rose organization of designs, is that                        11:58:56
                                                                                9    correct, sir?                                                       11:58:58
                                                                                10       A     Yes.                                                      11:58:59
                                                                                11       Q     Looking at this exhibit, can you tell if                  11:59:00
                                                                                12   the flowers that are depicted on the fabric                         11:59:03
                                                                                13   patterns shown on this exhibit are roses?                           11:59:09
                                                                                14       A     I cannot say.                                             11:59:52
                                                                                15       Q     Okay.                                                     12:00:38
                                                                                16             MR. LEE:      All right.   Please show the
                                                                                17   witness document number 11 which I'd ask the court
                                                                                18   reporter to mark as Deposition Exhibit 10.
                                                                                19             TECH:   Please stand -- please stand by.         I
                                                                                20   just want to confirm.          That's document number 9?
                                                                                21             MR. LEE:      No.   It's document number 11.              12:00:50
                                                                                22             TECH:   11.     Exhibit Number 10 is on the               12:00:50
                                                                                23   screen.                                                             12:00:53
                                                                                24             MR. LEE:      Very good.   And that's a                   12:00:54
                                                                                25   multi-page document, a two-page document, I should                  12:00:56


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                                                                                1    indicated this was one of the fabric designs which            13:10:23
                                                                                2    Neman Brothers alleges --                                     13:10:28
                                                                                3        A     Yes.                                                13:10:32
                                                                                4        Q     -- Interfocus infringed in this action?             13:10:33
                                                                                5        A     Yes.                                                13:10:39
                                                                                6        Q     Do you recall the -- the NB number that we          13:10:39
                                                                                7    assigned that -- that Neman Brothers assigned to              13:10:42
                                                                                8    this design?                                                  13:10:44
                                                                                9        A     Yes.                                                13:10:44
                                                                                10       Q     And that was NB161106?                              13:10:45
                                                                                11       A     Yes.                                                13:10:51
                                                                                12       Q     Okay.   Now, I apologize if I asked you             13:10:51
                                                                                13   this before, but I couldn't remember.         Was this        13:10:53
                                                                                14   design one that Neman Brothers created itself or              13:10:57
                                                                                15   one that it purchased?                                        13:11:01
                                                                                16       A     It purchased.                                       13:11:03
                                                                                17       Q     From whom did Neman Brothers purchase this          13:11:04
                                                                                18   design?                                                       13:11:08
                                                                                19       A     From a studio called, I think, Francis              13:11:09
                                                                                20   (sic) from Italy.                                             13:11:17
                                                                                21       Q     Okay.   Is -- is the name of the studio             13:11:19
                                                                                22   Francesco Ortenzi Design?                                     13:11:25
                                                                                23       A     Yes.                                                13:11:25
                                                                                24       Q     Okay.   When did Neman Brothers purchase            13:11:27
                                                                                25   this design from Francesco Ortenzi Design?                    13:11:31


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                                                                                1        A   2002.                                                 13:11:37
                                                                                2        Q   Okay.   Is there a written agreement                  13:11:39
                                                                                3    between Neman Brothers and Francesco Ortenzi                  13:11:44
                                                                                4    Design concerning the purchase of this design?                13:11:49
                                                                                5        A   We don't have the invoice.       We -- we             13:11:53
                                                                                6    have -- my girls have misplaced the invoice that              13:11:59
                                                                                7    we purchased.                                                 13:12:04
                                                                                8        Q   Okay.   So if I understand you correctly,             13:12:05
                                                                                9    at this point, you do not have the invoice by                 13:12:09
                                                                                10   which Neman Brothers purchased the Frances- --                13:12:12
                                                                                11   France- -- the design shown in Exhibit 10?                    13:12:21
                                                                                12       A   We don't.                                             13:12:23
                                                                                13       Q   How do you know that there was an invoice?            13:12:24
                                                                                14       A   Whatever we buy, we pay.      And there was --        13:12:32
                                                                                15   it has an invoice and assignment.                             13:12:38
                                                                                16       Q   Okay.   So you're basing it -- your -- your           13:12:41
                                                                                17   testimony on Neman Brothers' usual practice in --             13:12:45
                                                                                18   in purchasing designs?                                        13:12:50
                                                                                19       A   Yes.                                                  13:12:52
                                                                                20       Q   Okay.                                                 13:12:52
                                                                                21       A   We bought three designs from this studio.             13:12:57
                                                                                22   So --                                                         13:13:01
                                                                                23       Q   What were the other two designs you bought            13:13:01
                                                                                24   from Francesco Ortenzi Design in 2002?                        13:13:04
                                                                                25       A   We can -- my attorney can send to you.                13:13:09


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                                                                                1        Q   Okay.    If you don't have the invoice, what             13:13:11
                                                                                2    makes you think that Neman Brothers purchased the                13:13:16
                                                                                3    design shown in Exhibit 10 in 2002?                              13:13:21
                                                                                4        A   These Italian or any studio make artwork                 13:13:25
                                                                                5    for us for sale.      And unless we pay, they would              13:13:34
                                                                                6    not give it to us.                                               13:13:38
                                                                                7        Q   Right.     So if I understand you correctly,             13:13:40
                                                                                8    then, that evidences the fact that Neman Brothers                13:13:44
                                                                                9    purchased it.      But why do you think it purchased             13:13:48
                                                                                10   it in 2000?                                                      13:13:54
                                                                                11       A   2002.    We have -- we have numbered it                  13:13:58
                                                                                12   at -- at the time we bought it.                                  13:14:09
                                                                                13       Q   Okay.    What number did you assign to it                13:14:12
                                                                                14   when you bought it that gave it the number 2002?                 13:14:15
                                                                                15       A   I think we have given you this in that --                13:14:19
                                                                                16   our exhibits.      I gave it a number.     If you want, I        13:14:26
                                                                                17   can go and bring the number from the studio.                     13:14:31
                                                                                18       Q   No, you don't need to do that right now.                 13:14:34
                                                                                19           MR. LEE:     If the reporter would please                13:14:45
                                                                                20   post for the witness document number 13, which                   13:14:48
                                                                                21   I'll ask her to mark as Exhibit 11.                              13:15:01
                                                                                22           TECH:    Please stand by.                                13:15:05
                                                                                23           MR. JEONG:     Please, also, put it on the               13:15:11
                                                                                24   chat room, please.                                               13:15:18
                                                                                25           TECH:    It's in the chat.                               13:15:20


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                                                                                1    chance to look at Exhibit 11?                                  13:19:26
                                                                                2        A   Yes.                                                   13:19:29
                                                                                3        Q   Do you recognize the images shown in that              13:19:31
                                                                                4    exhibit, sir?                                                  13:19:37
                                                                                5        A   Yes, I do.                                             13:19:39
                                                                                6        Q   What are those images?                                 13:19:40
                                                                                7        A   Floral artwork.                                        13:19:42
                                                                                8        Q   Are those floral artwork images the same               13:19:48
                                                                                9    images that are the subject of the -- Exhibit 10?              13:19:56
                                                                                10       A   Yes.                                                   13:20:02
                                                                                11       Q   All right.    And can you see the language             13:20:03
                                                                                12   on there -- well, it's shown sideways.          But in         13:20:07
                                                                                13   what is the lower left-hand corner of this, you                13:20:13
                                                                                14   see the -- there's a label.       Can you read what it         13:20:15
                                                                                15   says?   Maybe we can get that a little closer.                 13:20:19
                                                                                16       A   Francesco -- a studio name.        Francesco --        13:20:22
                                                                                17   Fran- -- Francesco something.        Francesco Ortenzi?        13:20:34
                                                                                18       Q   Yes.                                                   13:20:46
                                                                                19       A   Yeah.                                                  13:20:46
                                                                                20       Q   Is that the studio from whom you indicated             13:20:47
                                                                                21   before Neman Brothers purchased the design that is             13:20:50
                                                                                22   shown in Exhibit 10 to the deposition?                         13:20:57
                                                                                23       A   Yes.                                                   13:21:01
                                                                                24       Q   And this is the one you indicated was                  13:21:02
                                                                                25   purchased in 2002?                                             13:21:07


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                                                                                1        A     That's right.                                         13:21:10
                                                                                2        Q     Okay.   But if I understood you correctly,            13:21:10
                                                                                3    you don't have the written invoice that would                   13:21:32
                                                                                4    reflect that purchase, is that correct?                         13:21:34
                                                                                5        A     Yes.                                                  13:21:36
                                                                                6              MR. LEE:     All right.   Please next show the        13:21:37
                                                                                7    witness the document that has been marked                       13:21:50
                                                                                8    exhibit -- it's not exhibit -- strike that.                     13:21:59
                                                                                9    Document 12 which I would now like to have marked               13:22:02
                                                                                10   as Exhibit 12.                                                  13:22:05
                                                                                11             TECH:   Please stand by.      Exhibit 12 is on        13:22:12
                                                                                12   the screen.                                                     13:22:56
                                                                                13             MR. LEE:     All right.   Thank you.                  13:22:57
                                                                                14       Q     (By Mr. Lee)     And, Mr. Neman, please take          13:22:58
                                                                                15   a look.     And I note that it's a two-page -- well,            13:23:03
                                                                                16   a two-page document.        And please look at both             13:23:08
                                                                                17   pages.                                                          13:23:10
                                                                                18             All right.     Have you had a chance to look          13:23:14
                                                                                19   at that, sir?                                                   13:23:15
                                                                                20       A     Yes.                                                  13:23:16
                                                                                21       Q     Do you recognize Exhibit 12?                          13:23:16
                                                                                22       A     Yes.                                                  13:23:20
                                                                                23       Q     What is Exhibit 12?                                   13:23:21
                                                                                24       A     It's an invoice from a studio called                  13:23:24
                                                                                25   Robert Vermet.                                                  13:23:28


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                                                                                1           Q   All right.     And are you familiar with the        13:33:55
                                                                                2    C&P Vina Co., Limited, in Vietnam?                             13:34:13
                                                                                3           A   I don't know anything about C&P.                    13:34:14
                                                                                4           Q   Okay.   So once your supplier sends that --         13:34:16
                                                                                5    that fabric to the company in Vietnam, you don't               13:34:23
                                                                                6    have any idea what that company does with it, is               13:34:27
                                                                                7    that correct?                                                  13:34:30
                                                                                8           A   No, I don't.                                        13:34:30
                                                                                9           Q   All right.     Now, I notice here that the          13:34:32
                                                                                10   images in the lower right-hand portion of the                  13:34:38
                                                                                11   first page of this exhibit show the Design Number              13:34:40
                                                                                12   1 and several different -- with several different              13:34:46
                                                                                13   background colors.         Do you see that?                    13:34:50
                                                                                14          A   Yes.                                                13:34:52
                                                                                15          Q   And is that because Neman Brothers offered          13:34:53
                                                                                16   that fabric design in several different colors?                13:34:59
                                                                                17          A   Yes.                                                13:35:03
                                                                                18          Q   All right.     And your customer, whoever           13:35:03
                                                                                19   that was, asked for it in several different                    13:35:06
                                                                                20   colors, is that also correct?                                  13:35:09
                                                                                21          A   Yes.                                                13:35:10
                                                                                22          Q   All right.     And then so -- and by just           13:35:10
                                                                                23   different colors, of course, I mean both the                   13:35:22
                                                                                24   background colors are different, are -- are they               13:35:25
                                                                                25   not?                                                           13:35:28


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                                                                                1    a box in the upper left designated 1.         Style           13:45:25
                                                                                2    number.     Do you see that?                                  13:45:32
                                                                                3        A     Yes.                                                13:45:33
                                                                                4        Q     And it's style number 1269-20355?                   13:45:34
                                                                                5        A     Yes.                                                13:45:34
                                                                                6        Q     Do you recognize that style designation?            13:45:42
                                                                                7        A     I don't.                                            13:45:44
                                                                                8        Q     Okay.   Is that a style designation that            13:45:45
                                                                                9    Neman Brothers uses?                                          13:45:47
                                                                                10       A     Yes.                                                13:45:48
                                                                                11       Q     Okay.   But you don't recognize which               13:45:48
                                                                                12   designation it is at the moment, is that right?               13:45:56
                                                                                13       A     I know the 1269 is chiffon, hi multi                13:45:58
                                                                                14   chiffon, but I don't remember 20355.                          13:46:08
                                                                                15       Q     Okay.   All right.   That -- that's -- those        13:46:12
                                                                                16   are all my questions for that document.                       13:46:13
                                                                                17             MR. LEE:   If you would, please, show the           13:46:16
                                                                                18   witness document number 19 which should be                    13:46:18
                                                                                19   designated as this deposition's Exhibit Number 17.            13:46:27
                                                                                20             TECH:   Please stand by.    It's on the             13:47:22
                                                                                21   screen.                                                       13:47:24
                                                                                22       Q     (By Mr. Lee)   Mr. Neman, will you please           13:47:24
                                                                                23   look at Exhibit 17 which consists of three pages?             13:47:26
                                                                                24   Have you had a chance to look at that, sir?                   13:48:34
                                                                                25       A     Yes.                                                13:48:35


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                                                                                1           Q   And do you recognize this document?                13:48:36
                                                                                2           A   Yes.                                               13:48:38
                                                                                3           Q   What is that document?                             13:48:38
                                                                                4           A   It's a copyright registration.                     13:48:40
                                                                                5           Q   And is that a copyright registration               13:48:43
                                                                                6    for -- well, is it a group registration?                      13:48:48
                                                                                7           A   Yes.                                               13:48:50
                                                                                8           Q   And among the group is what has been               13:48:50
                                                                                9    designated Design Number 1?                                   13:48:57
                                                                                10          A   161106 possibly.     I don't remember              13:49:01
                                                                                11   numbers.      But this 161106, if that is the one,            13:49:08
                                                                                12   yes.                                                          13:49:14
                                                                                13          Q   All right.     And that's -- that's the            13:49:14
                                                                                14   design, I believe you testified before, Neman                 13:49:19
                                                                                15   Brothers purchased from the Italian studio, is                13:49:22
                                                                                16   that correct?                                                 13:49:26
                                                                                17          A   Yes.                                               13:49:26
                                                                                18          Q   And the one for which you can't find the           13:49:27
                                                                                19   invoice right now?                                            13:49:31
                                                                                20          A   Right.                                             13:49:32
                                                                                21          Q   Do you know how many others of the designs         13:49:33
                                                                                22   shown on this copyright registration were designs             13:49:35
                                                                                23   that Neman Brothers purchased?                                13:49:41
                                                                                24          A   All of them.                                       13:49:44
                                                                                25          Q   Okay.                                              13:49:45


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                                                                                1        A     I mean, I don't know but either we bought           13:49:47
                                                                                2    or we -- we did it through pull outs of the design            13:49:51
                                                                                3    that we buy.                                                  13:50:01
                                                                                4        Q     All right.                                          13:50:02
                                                                                5        A     I know some of them are -- the one that             13:50:03
                                                                                6    says X, I think it's a version of the original                13:50:05
                                                                                7    design.                                                       13:50:08
                                                                                8        Q     Ah.     So if there's an X designation after        13:50:09
                                                                                9    the number, that would mean that it was a -- a                13:50:14
                                                                                10   second version or a sixth version or whatever                 13:50:17
                                                                                11   version the number might be following of a design             13:50:20
                                                                                12   that Neman Brothers had registered before?                    13:50:23
                                                                                13       A     Right.                                              13:50:25
                                                                                14       Q     Okay.     And some of them were purchased by        13:50:26
                                                                                15   Neman Brothers, is that correct?                              13:50:32
                                                                                16       A     Yes.                                                13:50:33
                                                                                17       Q     And some of them were created by Neman              13:50:34
                                                                                18   Brothers itself, is that also correct?                        13:50:39
                                                                                19       A     Yes.                                                13:50:41
                                                                                20       Q     All right.     Now, I see the one that's            13:50:41
                                                                                21   circled in red at the bottom, NB161106, does not              13:50:49
                                                                                22   have an X after it?                                           13:50:57
                                                                                23       A     Right.                                              13:50:58
                                                                                24       Q     Does that indicate that that was an                 13:50:59
                                                                                25   original style that was registered at that time?              13:51:06


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                                                                                1        A   Yes.                                                    13:51:08
                                                                                2        Q   But the num- -- NB number showing the                   13:51:08
                                                                                3    content -- on the content title column, when it                 13:51:34
                                                                                4    had an X with a number after it, that indicated                 13:51:36
                                                                                5    the previous versions had also been registered, is              13:51:40
                                                                                6    that correct?                                                   13:51:43
                                                                                7        A   Yes.                                                    13:51:43
                                                                                8        Q   All right.    Now, if I could have you                  13:51:44
                                                                                9    scroll -- if we could scroll down through this                  13:52:04
                                                                                10   document for a bit.     I see the registrant.        The        13:52:06
                                                                                11   registration states that the author is Neman                    13:52:11
                                                                                12   Brothers & Associates, is that right?                           13:52:13
                                                                                13       A   Yes.                                                    13:52:14
                                                                                14       Q   All right.    All right.     And as I scroll            13:52:15
                                                                                15   down further, I saw your name, I believe.                       13:52:23
                                                                                16   Let's -- let's see if we can find that again.                   13:52:25
                                                                                17   There we go.    Organization name and then your name            13:52:28
                                                                                18   under organization and also under certification.                13:52:34
                                                                                19   Do you see that?                                                13:52:38
                                                                                20       A   Yes.                                                    13:52:38
                                                                                21       Q   Does that indicate that you signed this                 13:52:39
                                                                                22   document?                                                       13:52:41
                                                                                23       A   Yes.                                                    13:52:42
                                                                                24       Q   All right.    And when you signed it, you               13:52:43
                                                                                25   knew everything you just testified to about the                 13:52:46


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                                                                                1    different -- let's go back up to the top.             You        13:52:50
                                                                                2    know everything about the fact that some of the                  13:52:55
                                                                                3    designs shown here had been purchased, is that                   13:52:56
                                                                                4    right?                                                           13:53:02
                                                                                5        A    One way or another, yes, purchased or --                13:53:02
                                                                                6        Q    Or created by Neman Brothers in some                    13:53:09
                                                                                7    instances?                                                       13:53:12
                                                                                8        A    From those designs, original designs.                   13:53:13
                                                                                9        Q    Right.                                                  13:53:17
                                                                                10       A    Was made smaller bigger or whatever.                    13:53:17
                                                                                11       Q    Right.     And -- and some of them were later           13:53:20
                                                                                12   versions of earlier designs, is that correct,                    13:53:24
                                                                                13   also?    Did -- did you hear my question, sir?                   13:53:48
                                                                                14       A    Yes.                                                    13:53:51
                                                                                15       Q    Okay.    Sorry.      I didn't mean to interrupt.        13:53:52
                                                                                16            COURT REPORTER:        Mr. Neman, I don't               13:54:06
                                                                                17   believe we got your answer.                                      13:54:12
                                                                                18       A    I thought I said yes.                                   13:54:13
                                                                                19       Q    (By Mr. Lee)      Oh, I -- okay.                        13:54:17
                                                                                20            MR. LEE:     Okay.     Please show the witness          13:54:20
                                                                                21   again Deposition Exhibit 10.                                     13:54:22
                                                                                22            TECH:    Please stand by.      Sharing Exhibit          13:54:37
                                                                                23   10 on the screen.                                                13:54:50
                                                                                24       Q    (By Mr. Lee)      And let's -- Mr. Neman, you           13:54:52
                                                                                25   recognize Exhibit 10 as a document we talked about               13:54:55


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                                                                                1    earlier in the deposition?                                             13:54:58
                                                                                2           A   Yes.                                                        13:54:59
                                                                                3           Q   Please let's focus again on the second                      13:54:59
                                                                                4    page of that exhibit.                                                  13:55:02
                                                                                5               MR. LEE:     And I'd like Mr. Neman to be                   13:55:04
                                                                                6    able to see the text in the upper left-hand                            13:55:05
                                                                                7    portion, also a significant portion of the actual                      13:55:09
                                                                                8    sample.                                                                13:55:12
                                                                                9           Q   (By Mr. Lee)     Okay.   And can you see that,              13:55:18
                                                                                10   sir?                                                                   13:55:19
                                                                                11          A   Yes.                                                        13:55:21
                                                                                12          Q   Do you see the -- the number there in the                   13:55:22
                                                                                13   upper left NB161106?                                                   13:55:25
                                                                                14          A   Yes.                                                        13:55:30
                                                                                15          Q   And do you recall that is also one of the                   13:55:30
                                                                                16   designs that was registered for copyright as shown                     13:55:34
                                                                                17   in the document you were -- that you just looked                       13:55:37
                                                                                18   at which is Deposition Exhibit 17?                                     13:55:40
                                                                                19          A   Yes.                                                        13:55:43
                                                                                20          Q   All right.     Now, let me ask this.         What --        13:55:43
                                                                                21   let's -- let's -- I'm not focused on the text now.                     13:55:49
                                                                                22   Let's scroll up so he can see the design better.                       13:55:54
                                                                                23   What elements of this design does Neman Brothers                       13:55:58
                                                                                24   claim is protected by copyright?                                       13:56:05
                                                                                25          A   The whole design.                                           13:56:09


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                                                                                1           Q   Excuse me?                                               13:56:12
                                                                                2           A   The whole design.                                        13:56:13
                                                                                3           Q   Okay.     But what about the color?                      13:56:14
                                                                                4           A   No, the color is not copyrighted.                        13:56:16
                                                                                5           Q   Okay.     So the -- if -- so the background              13:56:21
                                                                                6    color would not be protected by copyright, is that                  13:56:26
                                                                                7    correct?                                                            13:56:29
                                                                                8           A   No.     The color is not copyrighted, only               13:56:29
                                                                                9    the motifs.                                                         13:56:32
                                                                                10          Q   All right.     And so would -- so would the              13:56:34
                                                                                11   same be true if the background color is not                         13:56:36
                                                                                12   protected by copyright, would the color of the                      13:56:39
                                                                                13   flowers themselves be protected by copyright?                       13:56:42
                                                                                14              MR. JEONG:     Objection.     Legal conclusion.          13:56:46
                                                                                15          Q   (By Mr. Lee)     All right.     You can answer,          13:56:46
                                                                                16   sir.                                                                13:56:46
                                                                                17              MR. JEONG:     Not made law.                             13:56:49
                                                                                18          A   Color is not registered.                                 13:56:49
                                                                                19          Q   (By Mr. Lee)     Okay.     So if the color's not         13:56:51
                                                                                20   protected in -- in your view, what would be                         13:56:54
                                                                                21   protected?         Is it the shape of the flowers and the           13:56:58
                                                                                22   placement of the flowers in the design?                             13:57:01
                                                                                23          A   Yes.                                                     13:57:03
                                                                                24          Q   Okay.     All right.     Thank you.   Please show        13:57:04
                                                                                25   the witness document number -- just a moment.                       13:57:17


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                                                                                1    do it.                                                             14:05:09
                                                                                2        Q    All right.     Would you please take a look               14:05:10
                                                                                3    at the document -- I believe it's document number                  14:05:19
                                                                                4    21, which I'll ask the court reporter to show you                  14:05:27
                                                                                5    and mark as Deposition Exhibit 19.                                 14:05:32
                                                                                6             MR. JEONG:     Also, before we move on, can               14:05:35
                                                                                7    we take a short break?                                             14:05:37
                                                                                8             MR. LEE:     Oh, yeah.     Why don't we just              14:05:40
                                                                                9    take the break now, and we'll start up with this                   14:05:42
                                                                                10   document after?                                                    14:05:45
                                                                                11            MR. JEONG:     Okay.     Thank you.                       14:05:46
                                                                                12            VIDEOGRAPHER:     Going off the record.        The        14:05:46
                                                                                13   time is 2:05 p.m. Pacific Time.                                    14:05:47
                                                                                14            (Off the record.)                                         14:05:52
                                                                                15            VIDEOGRAPHER:     We're back on the record.               14:27:41
                                                                                16   The time is 2:27 p.m. Pacific Time.                                14:27:49
                                                                                17       Q    (By Mr. Lee)     All right.     Mr. Neman, do             14:27:53
                                                                                18   you see on the right-hand portion of your screen                   14:27:56
                                                                                19   the portion of Exhibit 18 we just talked about?                    14:28:01
                                                                                20       A    Yes.                                                      14:28:04
                                                                                21       Q    And do you see there where it's got the                   14:28:05
                                                                                22   Neman Brothers' numbers there NB170268?           Do you           14:28:09
                                                                                23   see that?                                                          14:28:14
                                                                                24       A    Yes.                                                      14:28:14
                                                                                25       Q    And that designates what we're calling                    14:28:15


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                                                                                1    Design 2 in this deposition, correct?                                14:28:18
                                                                                2        A     Yes.                                                       14:28:21
                                                                                3        Q     All right.     Now, please look at the                     14:28:21
                                                                                4    document marked Exhibit 19 on the left-hand                          14:28:24
                                                                                5    portion of the page.                                                 14:28:27
                                                                                6              MR. LEE:     And if you could, let the                     14:28:28
                                                                                7    witness see the whole document, please.            I see a           14:28:30
                                                                                8    little bit is cut off at the top.           There we go.             14:28:33
                                                                                9    Almost.     All right.     We don't even need 18                     14:28:37
                                                                                10   anymore, if that makes things easier for                             14:28:41
                                                                                11   everybody.                                                           14:28:44
                                                                                12       Q     (By Mr. Lee)     Mr. Neman, do you recognize               14:28:45
                                                                                13   Exhibit 19?                                                          14:28:48
                                                                                14       A     Yes.                                                       14:28:49
                                                                                15       Q     What is that?                                              14:28:50
                                                                                16       A     This -- Mr. Audelio Lara scanned this into                 14:28:54
                                                                                17   computer.                                                            14:29:10
                                                                                18       Q     You say scanned this.      Scanned what?                   14:29:10
                                                                                19       A     Scanned this page, scanned inventory                       14:29:12
                                                                                20   image.                                                               14:29:16
                                                                                21       Q     Okay.   And do you know what that inventory                14:29:16
                                                                                22   image is?                                                            14:29:19
                                                                                23       A     No, I don't.                                               14:29:20
                                                                                24       Q     Okay.   Do you see the line there where it                 14:29:22
                                                                                25   says revision history for PATT-20419+PATTERN?              Do        14:29:28


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                                                                                1        A   Yes.    Go ahead.                                       14:53:47
                                                                                2        Q   Okay.    Sir, do you recognize this as an               14:53:48
                                                                                3    exhibit that was attached to the declaration that               14:53:53
                                                                                4    was filed on your behalf in July of this year in                14:53:56
                                                                                5    this action?                                                    14:54:00
                                                                                6        A   Yes.                                                    14:54:02
                                                                                7        Q   And what is this document?                              14:54:03
                                                                                8        A   It's a certificate of registration                      14:54:08
                                                                                9    copyright.                                                      14:54:12
                                                                                10       Q   All right.    And is this a copyright                   14:54:13
                                                                                11   registration that was filed by Neman Brothers?                  14:54:17
                                                                                12       A   Yes.                                                    14:54:21
                                                                                13       Q   Okay.    And was -- was it filed by Neman               14:54:22
                                                                                14   Brothers on or about the date it says?                          14:54:26
                                                                                15       A   It was filed -- I don't know.        We got one         14:54:32
                                                                                16   granted March 5th, 2017.                                        14:54:36
                                                                                17       Q   Thank you.    Is this another group                     14:54:41
                                                                                18   registration?                                                   14:54:46
                                                                                19       A   Yes.                                                    14:54:47
                                                                                20       Q   Would this registration include works that              14:54:47
                                                                                21   Neman Brothers created and also works that Neman                14:54:52
                                                                                22   Brothers purchased from other studios?                          14:54:56
                                                                                23       A   Yes.                                                    14:54:59
                                                                                24       Q   Do you know which of the work shown here                14:54:59
                                                                                25   were purchased from other studios and which were                14:55:04


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                                                                                1    created by Neman Brothers?                                        14:55:07
                                                                                2        A     I don't know.                                           14:55:09
                                                                                3        Q     Okay.     But that would be reflected in                14:55:11
                                                                                4    Neman Brothers' records?                                          14:55:15
                                                                                5        A     Yes.                                                    14:55:17
                                                                                6        Q     And that would've -- and that would've                  14:55:18
                                                                                7    been the case when this registration was filed?                   14:55:21
                                                                                8        A     I don't understand.                                     14:55:25
                                                                                9        Q     Oh.     In other words, the fact that some of           14:55:28
                                                                                10   the work shown here were purchased by Neman                       14:55:31
                                                                                11   Brothers and some were created, would that have                   14:55:36
                                                                                12   been in Neman Brothers' records when this                         14:55:40
                                                                                13   copyright registration was filed?                                 14:55:43
                                                                                14       A     Yes.                                                    14:55:45
                                                                                15       Q     And that would've been known to you when                14:55:45
                                                                                16   this registration was filed?                                      14:55:48
                                                                                17       A     I -- I think so.     I'm not sure.                      14:55:51
                                                                                18       Q     If you would, please, look at the fourth                14:55:55
                                                                                19   page of this document.        It says page four of five           14:56:13
                                                                                20   in the lower right-hand corner.          And in the lower         14:56:20
                                                                                21   left, it says NB00093.        Do you see that, sir?               14:56:23
                                                                                22       A     No.     Where is -- can you highlight,                  14:56:32
                                                                                23   please?                                                           14:56:35
                                                                                24       Q     Well, yeah.     Right now, I'm just asking              14:56:36
                                                                                25   you if you're at the page.         It's the page NB00093          14:56:39


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                                                                                1    and it's also page 4 of 5 of this exhibit to your              14:56:44
                                                                                2    declaration.       Do you see that?    I just want to          14:56:50
                                                                                3    make sure we're on the same page.                              14:56:53
                                                                                4        A    Yes, I can see that.                                  14:56:54
                                                                                5        Q    Okay.     Now, here there's a listing of the          14:56:56
                                                                                6    various individual designs.        It is apparently in         14:57:00
                                                                                7    almost sequential order, one of them being                     14:57:05
                                                                                8    NB170268.       Do you see that?                               14:57:13
                                                                                9        A    Okay.                                                 14:57:14
                                                                                10       Q    Do you recognize that as the Neman                    14:57:15
                                                                                11   Brothers or a Neman Brothers' designation for what             14:57:19
                                                                                12   we're calling Design 2 in this deposition?                     14:57:22
                                                                                13       A    Yes.                                                  14:57:25
                                                                                14       Q    So this indicates that Design 2 was one of            14:57:26
                                                                                15   the designs that was registered for copyright in               14:57:29
                                                                                16   this group registration, is that correct?                      14:57:36
                                                                                17       A    Yes.                                                  14:57:41
                                                                                18       Q    All right.     I see here a number of -- of           14:57:41
                                                                                19   these Neman Brothers' numbers are sequential.                  14:57:53
                                                                                20   Does that indicate to you that the ones that are               14:57:58
                                                                                21   in sequential order were all created by Neman                  14:58:00
                                                                                22   Brothers, or can you not draw that conclusion from             14:58:04
                                                                                23   that fact?                                                     14:58:06
                                                                                24       A    I can't.     Without looking at them, I               14:58:07
                                                                                25   can't.                                                         14:58:11


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                                                                                1        Q   Okay.   So some of those might've been             14:58:11
                                                                                2    purchased and some of them might be created or             14:58:14
                                                                                3    something else, is that correct?                           14:58:17
                                                                                4        A   That's right.                                      14:58:19
                                                                                5        Q   All right.    Now, the ones that were              14:58:20
                                                                                6    created you already indicated were created by              14:58:24
                                                                                7    people who worked in Neman Brothers' design team,          14:58:26
                                                                                8    were those people all full-time employees of Neman         14:58:35
                                                                                9    Brothers?                                                  14:58:39
                                                                                10       A   Yes.                                               14:58:39
                                                                                11       Q   And were they W2 employees?                        14:58:39
                                                                                12       A   Yes.                                               14:58:43
                                                                                13       Q   Okay.   And then, Neman Brothers withheld          14:58:43
                                                                                14   taxes and whatever for those employees?                    14:58:50
                                                                                15       A   Yes.                                               14:58:51
                                                                                16       Q   Did they have employment agreements?               14:58:52
                                                                                17       A   Yes.                                               14:58:55
                                                                                18       Q   And those agreements were in writing?              14:58:56
                                                                                19       A   Yes.                                               14:59:00
                                                                                20       Q   Did those written agreements indicate              14:59:00
                                                                                21   anything about who would own designs that they             14:59:03
                                                                                22   created while they worked at Neman Brothers?               14:59:07
                                                                                23       A   No.                                                14:59:09
                                                                                24       Q   Okay.   If you'd go to the next page of            14:59:10
                                                                                25   this exhibit, do you see your name towards the end         14:59:19


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                                                                                1    of this document, sir?                                         14:59:30
                                                                                2        A   Yes, I do.                                             14:59:31
                                                                                3        Q   Okay.    Does that mean you effectively                14:59:32
                                                                                4    signed this registration?                                      14:59:35
                                                                                5        A   Yes.                                                   14:59:36
                                                                                6        Q   Okay.    Now, I notice that the number of              14:59:36
                                                                                7    artworks that were registered with this exhibit                14:59:43
                                                                                8    was a lot bigger than the number registered with               14:59:51
                                                                                9    the first copyright registration we talked about               14:59:56
                                                                                10   earlier today.     Do you know why that is?                    14:59:59
                                                                                11       A   I don't.                                               15:00:01
                                                                                12       Q   Okay.    And I notice there on the first               15:00:02
                                                                                13   page, again, we have some indications after some               15:00:05
                                                                                14   numbers there's an X or an X2.        You need to go           15:00:09
                                                                                15   back to the first page of the document to see                  15:00:13
                                                                                16   those, I think.      All right.   Do you -- do you see         15:00:16
                                                                                17   that, sir?                                                     15:00:42
                                                                                18       A   Yes, I do.                                             15:00:43
                                                                                19       Q   Does that indicate to you that these were              15:00:44
                                                                                20   subsequent versions of designs that Neman Brothers             15:00:46
                                                                                21   had already created or purchased?                              15:00:52
                                                                                22       A   Yes.                                                   15:00:54
                                                                                23       Q   Okay.    And had already registered for                15:00:54
                                                                                24   copyright?                                                     15:01:00
                                                                                25       A   Yes.                                                   15:01:01


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                                                                                1           Q   Okay.   And Neman Brothers would've known                   15:01:01
                                                                                2    that when this registration was filed, would it                        15:01:03
                                                                                3    not?                                                                   15:01:06
                                                                                4           A   Yes.                                                        15:01:06
                                                                                5           Q   Okay.   That's all the questions I have for                 15:01:07
                                                                                6    that document.                                                         15:01:17
                                                                                7               MR. LEE:     Please, let's look at exhibit --               15:01:19
                                                                                8    or strike that.         Document 31, which I think we're               15:01:23
                                                                                9    now designating as Exhibit -- is it 28?             I'll ask           15:01:28
                                                                                10   the reporter to --                                                     15:01:33
                                                                                11              TECH:   Yes.    That's Exhibit 28.                          15:01:34
                                                                                12              MR. LEE:     All right.    So please, yeah,                 15:01:38
                                                                                13   mark document 31 as Exhibit 28 and put it up on                        15:01:39
                                                                                14   the screen so the witness can see it.                                  15:01:43
                                                                                15              MR. JEONG:     Just so we know, like, how                   15:01:54
                                                                                16   much -- how much time do you estimate to the end?                      15:01:55
                                                                                17              MR. LEE:     Well, I am always nervous about                15:01:58
                                                                                18   making those, because as soon as I give you an                         15:02:01
                                                                                19   estimate, I'm way off, and then everybody gets                         15:02:04
                                                                                20   unhappy.      But I would assume 45 minutes or so.                     15:02:06
                                                                                21              MR. JEONG:     Can we take a break?      Or, I              15:02:16
                                                                                22   mean, it's been an hour for this last session,                         15:02:16
                                                                                23   right?                                                                 15:02:19
                                                                                24              MR. LEE:     Oh, okay.    Yeah.   Well, let's               15:02:19
                                                                                25   take a 10-minute break this time, if we can.                If         15:02:20


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                                                                                1    everybody would be back in 10, that would be                          15:02:24
                                                                                2    great.                                                                15:02:27
                                                                                3              MR. JEONG:     Thank you.                                   15:02:28
                                                                                4              VIDEOGRAPHER:        Going off the record.      The         15:02:30
                                                                                5    time is 3:02 p.m. Pacific Time.                                       15:02:31
                                                                                6              (Off the record.)                                           15:14:00
                                                                                7              VIDEOGRAPHER:        We're back on the record.              15:14:03
                                                                                8    The time is 3:13 p.m.                                                 15:14:06
                                                                                9              MR. LEE:     Okay.     Just before our break, I             15:14:10
                                                                                10   was about to ask the witness to take a look at a                      15:14:13
                                                                                11   document that I believe I identified as document                      15:14:16
                                                                                12   number 30.        It would be Exhibit 27?      Or had we              15:14:19
                                                                                13   moved on from there?                                                  15:14:24
                                                                                14             TECH:     We're -- we're on document --                     15:14:26
                                                                                15             MR. LEE:     Oh.                                            15:14:26
                                                                                16             TECH:     -- 31, Ex- -- Exhibit Number 28.                  15:14:28
                                                                                17             MR. LEE:     Oh.     Thank you.   Well, let's               15:14:31
                                                                                18   look at Exhibit 28, then.                                             15:14:33
                                                                                19             TECH:     Exhibit 28 is on the screen.                      15:14:35
                                                                                20       Q     (By Mr. Lee)       Okay.   Do you see that                  15:14:37
                                                                                21   document, Mr. Neman?                                                  15:14:38
                                                                                22       A     Yes.                                                        15:14:39
                                                                                23       Q     Do you recognize this as an exhibit that                    15:14:39
                                                                                24   was attached to the declaration filed in this                         15:14:43
                                                                                25   action?                                                               15:14:47


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                                                                                1        A     Yes.                                                 15:14:48
                                                                                2        Q     And I'd like you to see the text at the              15:14:48
                                                                                3    top of page 2 of this document, please.         And            15:14:55
                                                                                4    there's, of course, the text in blue.        That's            15:15:04
                                                                                5    the -- created by the Court.      Can you -- well, the         15:15:07
                                                                                6    smaller text doesn't include the pattern, though.              15:15:11
                                                                                7    Do you recognize this pattern?                                 15:15:14
                                                                                8        A     Yeah, I do.                                          15:15:16
                                                                                9        Q     What is this pattern?                                15:15:17
                                                                                10       A     This is one of our patterns.                         15:15:18
                                                                                11       Q     Is this one of the patterns that Neman               15:15:20
                                                                                12   Brothers alleges Interfocus infringed in this                  15:15:23
                                                                                13   action?                                                        15:15:26
                                                                                14       A     Yes.                                                 15:15:26
                                                                                15       Q     Is this the pattern identified as Design             15:15:27
                                                                                16   Number 3?                                                      15:15:31
                                                                                17       A     Yes.                                                 15:15:31
                                                                                18       Q     Is this a pattern that Neman Brothers                15:15:32
                                                                                19   created, or is it one that it purchased from                   15:15:36
                                                                                20   someone else?                                                  15:15:39
                                                                                21       A     It purchased.                                        15:15:43
                                                                                22       Q     From whom did Neman Brothers purchase the            15:15:46
                                                                                23   fabric pattern that we've identified as Design 3?              15:15:49
                                                                                24       A     I don't know.   You have -- if you -- you            15:15:52
                                                                                25   have an invoice, I guess, or something.         No?            15:15:57


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                                                                                1        Q   Well, I have a document, but -- well, I                  15:16:00
                                                                                2    can show it -- let's show it to you.                             15:16:03
                                                                                3            MR. LEE:   It's document number 32 that                  15:16:05
                                                                                4    I'll ask the reporter to mark as Exhibit 29.                     15:16:08
                                                                                5            TECH:   Please stand by.    Exhibit 29 is on             15:16:23
                                                                                6    the screen.                                                      15:16:48
                                                                                7        Q   (By Mr. Lee)   All right.    Sir, let's --               15:16:49
                                                                                8            MR. LEE:   Let's show him the whole                      15:16:54
                                                                                9    document.                                                        15:16:55
                                                                                10       Q   (By Mr. Lee)   And it's a multi-page                     15:16:56
                                                                                11   document, I should tell you, Mr. Neman.        So you            15:16:58
                                                                                12   might want to look at the whole thing.        Do you see         15:17:00
                                                                                13   the first page of that document, sir?                            15:17:21
                                                                                14       A   Yes.                                                     15:17:23
                                                                                15       Q   Do you recognize Exhibit 29?                             15:17:24
                                                                                16       A   Yes.                                                     15:17:27
                                                                                17       Q   What is it?                                              15:17:28
                                                                                18       A   It's the assignment for three designs from               15:17:29
                                                                                19   a studio called Mustic.                                          15:17:37
                                                                                20       Q   And do you recognize whether the                         15:17:49
                                                                                21   assignment shown here in Exhibit 29 assigns the                  15:17:53
                                                                                22   fabric pattern that was just shown to you in                     15:17:58
                                                                                23   Exhibit 28?                                                      15:18:06
                                                                                24       A   I don't know any of these numbers.                       15:18:11
                                                                                25       Q   Okay.   Well, would you please look at                   15:18:14


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                                                                                1    subsequent pages of Exhibit 29?        You're welcome to          15:18:23
                                                                                2    look at all of them, but I especially want you to                 15:18:26
                                                                                3    look at pages 3, 4, and 5 to this exhibit.           Have         15:18:29
                                                                                4    you had a chance to look at those pages, sir?                     15:19:12
                                                                                5        A   Yes.                                                      15:19:14
                                                                                6        Q   Does looking at those refresh your                        15:19:14
                                                                                7    recollection as to whether the assignments shown                  15:19:18
                                                                                8    in Exhibit 29 assigns the fabric pattern that's                   15:19:22
                                                                                9    been identified as Exhibit 28 that is Design 3 in                 15:19:27
                                                                                10   this case?                                                        15:19:31
                                                                                11       A   Yes.                                                      15:19:32
                                                                                12       Q   Okay.    In looking at those subsequent                   15:19:32
                                                                                13   pages, I notice some differences between the                      15:19:45
                                                                                14   pattern shown in Exhibit 29 -- the fabric pattern                 15:19:48
                                                                                15   shown in Exhibit 29 and the fabric pattern shown                  15:19:54
                                                                                16   in Exhibit 28.     Do you see those differences, sir?             15:19:57
                                                                                17       A   Yes.                                                      15:20:05
                                                                                18       Q   What differences do you see?                              15:20:05
                                                                                19       A   They have been changed.       It's the same               15:20:09
                                                                                20   design has been changed into -- the background has                15:20:16
                                                                                21   been cleaned out.     There's no elements in the                  15:20:21
                                                                                22   background, and just flowers have been used.                      15:20:24
                                                                                23       Q   All right.    Okay.   Now, do you know who                15:20:31
                                                                                24   made those changes to the designs shown in                        15:20:49
                                                                                25   Exhibit 29?                                                       15:20:55


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                                                                                1            MR. LEE:     Okay.     Thank you.   Would you             15:42:36
                                                                                2    please show the witness Exhibit 33?                               15:42:38
                                                                                3            TECH:    Exhibit 33 is on the screen.                     15:42:41
                                                                                4        Q   (By Mr. Lee)     And, Mr. Neman, this                     15:42:43
                                                                                5    document is a multi-page document.          So please             15:42:45
                                                                                6    review it, and let me know when you're ready to                   15:42:47
                                                                                7    discuss it.                                                       15:42:50
                                                                                8        A   Okay.    Go ahead.                                        15:42:50
                                                                                9        Q   Do you recognize this document, sir?                      15:42:51
                                                                                10       A   Yes.    Certificate of Registration.                      15:42:54
                                                                                11       Q   Is this the Certificate of Registration                   15:42:58
                                                                                12   for what we're calling Design Number 3?                           15:43:01
                                                                                13       A   I don't know.        If you show me the number,           15:43:06
                                                                                14   possibly, I know.                                                 15:43:09
                                                                                15       Q   Well, let me ask you to take a look at --                 15:43:11
                                                                                16   let's go back to Exhibit 1 that we asked you to                   15:43:15
                                                                                17   look at earlier today.                                            15:43:19
                                                                                18           TECH:    Please stand by.                                 15:43:26
                                                                                19       Q   (By Mr. Lee)     And, specifically, to the                15:43:31
                                                                                20   fifth page of this document, which reflects                       15:43:48
                                                                                21   paragraph 13 of Mr. Neman's declaration.                          15:43:52
                                                                                22   Paragraph 13.      There we go.                                   15:44:08
                                                                                23           Mr. Neman, would you please read para- --                 15:44:11
                                                                                24   oops -- paragraph 13 just to yourself?          You don't         15:44:14
                                                                                25   have to read it out loud.         But do you see that,            15:44:17


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                                                                                1    sir?                                                           15:44:22
                                                                                2           A   All right, sir.       Okay.                         15:44:32
                                                                                3           Q   All right.    And you note there -- do you          15:44:37
                                                                                4    recognize this as the declaration that was filed               15:44:40
                                                                                5    in your name in July in this case?                             15:44:42
                                                                                6           A   Yes.                                                15:44:44
                                                                                7           Q   And do you see there that it indicates              15:44:44
                                                                                8    that attached as Exhibit 6 is copyright                        15:44:48
                                                                                9    registration certificate number VAu 1-330-970?                 15:44:54
                                                                                10          A   Yes.                                                15:45:04
                                                                                11          Q   Okay.    Does looking at that refresh your          15:45:04
                                                                                12   recollection as to whether Exhibit 33 is a copy of             15:45:06
                                                                                13   the Exhibit 6 to your declaration?                             15:45:12
                                                                                14          A   Yes.                                                15:45:15
                                                                                15          Q   And does it refresh your recollection as            15:45:16
                                                                                16   to whether the copyright registration attached as              15:45:23
                                                                                17   Exhibit 33 includes within it what we're calling               15:45:25
                                                                                18   Design 3 in this case?                                         15:45:29
                                                                                19          A   Yes.                                                15:45:30
                                                                                20          Q   Okay.    Thank you.     So let's go back to         15:45:31
                                                                                21   Exhibit 33.        Now, sir, this -- is this another           15:45:33
                                                                                22   group registration?                                            15:45:39
                                                                                23          A   Yes.                                                15:45:40
                                                                                24          Q   And it has the title there as 2018                  15:45:41
                                                                                25   April artwork, is that correct?                                15:45:50


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                                                                                1        Q     Okay.   And then below that, it says                  15:48:17
                                                                                2    140720.     Do you see that?                                    15:48:22
                                                                                3        A     Yes.                                                  15:48:23
                                                                                4        Q     Does that also reference a work that was              15:48:23
                                                                                5    originally created in 2014, but here, a subsequent              15:48:26
                                                                                6    version was being registered?                                   15:48:31
                                                                                7        A     Yes.                                                  15:48:33
                                                                                8        Q     And would the same be true for the one                15:48:35
                                                                                9    below that where it says 150230X7?           Do you see         15:48:37
                                                                                10   that?                                                           15:48:43
                                                                                11       A     Yes.                                                  15:48:43
                                                                                12       Q     Does that also identify a work originally             15:48:43
                                                                                13   created in 2015 and that the seventh iteration of               15:48:46
                                                                                14   that was being registered here?                                 15:48:50
                                                                                15       A     That's right.                                         15:48:53
                                                                                16       Q     Okay.   And so those works that were                  15:48:54
                                                                                17   created in earlier years, would they have been                  15:48:56
                                                                                18   previously registered by Neman Brothers?                        15:48:58
                                                                                19       A     Yes.                                                  15:49:01
                                                                                20       Q     Okay.   And then there are subsequent                 15:49:01
                                                                                21   numbers.     I don't want to make you read all of               15:49:07
                                                                                22   them.     But there's some for 2015, some for 2016,             15:49:09
                                                                                23   some for 2017 on down that column.           Do you see         15:49:14
                                                                                24   that, sir?                                                      15:49:17
                                                                                25       A     Yes, I do.                                            15:49:18


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                                                                                1        Q   And would those all identify works that              15:49:19
                                                                                2    were originally created in the earlier years                 15:49:21
                                                                                3    identified by the first two digits of that number            15:49:24
                                                                                4    that had been previously registered for copyright,           15:49:29
                                                                                5    and here, Neman Brothers was registering a                   15:49:32
                                                                                6    subsequent version of that work, is that correct?            15:49:35
                                                                                7        A   Yes.                                                 15:49:38
                                                                                8        Q   All right.    Now, those -- the works -- the         15:49:38
                                                                                9    earlier versions of those works that have been               15:49:41
                                                                                10   created in earlier years, would those have been              15:49:44
                                                                                11   published by Neman Brothers, say, in -- in, say,             15:49:46
                                                                                12   for the NB120152X6, would the original version of            15:49:49
                                                                                13   that have been published in 2012?                            15:49:57
                                                                                14       A   I'm not sure.                                        15:50:00
                                                                                15       Q   Okay.   Would Neman Brothers typically               15:50:01
                                                                                16   revise designs over a period of years before it              15:50:08
                                                                                17   began selling them?                                          15:50:14
                                                                                18       A   Possible.                                            15:50:16
                                                                                19       Q   Okay.   So you don't know whether that's             15:50:19
                                                                                20   true here or not?                                            15:50:21
                                                                                21       A   Yes.                                                 15:50:23
                                                                                22       Q   Okay.   Now, consistent with the earlier             15:50:24
                                                                                23   registrations we talked about, would some of the             15:50:34
                                                                                24   designs that are described on this registration              15:50:38
                                                                                25   have been designs that Neman Brothers purchased              15:50:40


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                                                                                1    from other studios?                                                15:50:43
                                                                                2        A     Yes.                                                     15:50:45
                                                                                3        Q     And some of them may have been works that                15:50:45
                                                                                4    Neman Brothers created?                                            15:50:49
                                                                                5        A     Yes.                                                     15:50:50
                                                                                6        Q     And Neman Brothers would've known those                  15:50:51
                                                                                7    facts when it registered these works were                          15:50:55
                                                                                8    copyrighted in this registration?                                  15:50:57
                                                                                9        A     Yes.                                                     15:50:59
                                                                                10       Q     Okay.                                                    15:51:00
                                                                                11             MR. LEE:     Okay.     Thank you, Mr. Neman.   I         15:51:19
                                                                                12   don't have any other questions.                                    15:51:21
                                                                                13             THE WITNESS:     Thank you very much.                    15:51:24
                                                                                14             VIDEOGRAPHER:        Are we ready to go off the          15:51:34
                                                                                15   record?                                                            15:51:36
                                                                                16             MR. LEE:     Well, I suppose.     Let's just             15:51:37
                                                                                17   talk about getting Mr. Neman's signature and the                   15:51:38
                                                                                18   transcript.       I'm not sure about how long you think            15:51:43
                                                                                19   it will take to send him a transcript and all that                 15:51:45
                                                                                20   stuff, but I, obviously, want him to have a                        15:51:50
                                                                                21   reasonable time to read, review it, and sign it.                   15:51:51
                                                                                22             MR. JEONG:     Our code is supposed to be 30             15:51:54
                                                                                23   days, right?                                                       15:51:57
                                                                                24             MR. LEE:     Yeah.     If we go by the code.             15:51:58
                                                                                25   I'm happy to discuss anything -- any alternative,                  15:52:00


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                                                                                2           I, Melody Stephenson, the officer before
                                                                                3    whom the foregoing deposition was taken, do hereby
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                                                                                6    said testimony was taken by me stenographically
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                                                                                8    direction; that reading and signing was requested;
                                                                                9    and that I am neither counsel for, related to, nor
                                                                                10   employed by any of the parties to this case and
                                                                                11   have no interest, financial or otherwise, in its
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                                Email:
                                Em1til:   yoel@nerrum,com
                                          yoel@ncman.com
                              Address:
                              Addr~s:     1525 S. BROADWAY ST.
                                               ANGELES. CA 90015
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  Completion/Publication
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              Work made for hire:
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